         Case 1:11-cv-00294-FMA Document 65 Filed 10/14/11 Page 1 of 1




      In The United States Court of Federal Claims
                                          No. 11-294C

                                    (Filed: October 14, 2011)
                                           __________
 NETSTAR-1 GOVERNMENT
 CONSULTING, INC.,

                       Plaintiff,

                          v.

 THE UNITED STATES,

                      Defendant,

         and

 ALON, INC.,

                     Defendant-Intervenor.


                                           _________

                                            ORDER
                                           _________

       On October 13, 2011, plaintiff and defendant each filed motions to redact Sealed Opinion
and Order in this case. The court will treat these motions as notices to redact and will address
both accordingly.

       IT IS SO ORDERED.


                                                    s/ Francis M. Allegra
                                                    Francis M. Allegra
                                                    Judge
